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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                        GAINESVILLE DIVISION


UNITED STATES OF AMERICA                    :
                                            :     CRIMINAL INDICTMENT
v.                                          :     NO. 2:12-CR-022-RWS-JCF
                                            :
DAVEY HONEYCUTT, THOMAS                     :
COLEY, PHILLIP HONEYCUTT, and               :
PHILLIP ALEXANDER,                          :


            NON-FINAL REPORT AND RECOMMENDATION

      This case is before the Court on the Motions to Dismiss Indictment filed by

Defendants Thomas Coley (Doc. 70), Phillip Alexander (Doc. 73), Davey

Honeycutt (Doc. 88), and adopted by Phillip Honeycutt (Doc. 103).1 Defendants

move to dismiss the Indictment “on the grounds that the government’s over-

involvement in the events said to constitute crimes violate[d their] due process

rights.” They also request that the Court conduct a hearing on their motions.

Because Defendants have not shown that the governmental involvement here was

so outrageous that dismissal would be justified, it is RECOMMENDED that

Defendants’ motion be DENIED without a hearing.




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 It does not appear that Defendant Brendan Musser filed a motion to dismiss or
adopted his co-defendants’ motions to dismiss.
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                                   Background

      An Indictment filed August 14, 2012 (Doc. 1) charges Defendants Davey

Honeycutt, Brandon Musser, Thomas Coley, and Phillip Honeycutt with

conspiracy to aid and abet, and/or aiding and abetting “Michael Griffin, a/k/a

Griff,” in the possession of cocaine with the intent to distribute from February 28,

2012 until March 1, 2012. (Count One).        Count Two charges that Defendants

Davey and Phillip Honeycutt, Musser, and Coley, aided and abetted by each other,

aided and abetted Griffin in attempting to possess cocaine with intent to distribute

on March 1, 2012.       Count Three charges that Defendants Musser, Phillip

Honeycutt, and Alexander, aided and abetted by each other, aided and abetted

Griffin in attempting to possess cocaine with the intent to distribute on July 11,

2012. Count Four charges that Defendant Coley aided and abetted Griffin in

attempting to possess cocaine with intent to distribute on July 19, 2012.    Count

Five charges Defendant Davey Honeycutt with being a convicted felon in

possession of a firearm on January 4, 2012.

      The Government represents that these charges resulted from “a two year

undercover investigation conducted by the FBI into the criminal activities of the

Outlaw Motorcycle Club (OMC) and its affiliated gangs in North Georgia.” (Doc.

116, Gov’t Resp. at 2). The Government further states that “[t]he indictments,




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discovery, and proffers by the Government at the Defendants’ detention hearings

have revealed the following information about the undercover investigation”:

       The FBI, through the use of an undercover agent and cooperating
       individuals, developed evidence that members and persons associated
       with the OMC and its affiliates were involved in illegal drug and
       firearms trafficking which led to multiple indictments.
               Brad Smith [“Smith”], the then-President of the Black Pistons
       Motorcycle Club’s Cleveland, Georgia chapter, an OMC-affiliated
       gang, was working as an FBI confidential informant. Smith
       introduced an undercover law enforcement officer [“Griff” or
       “Griffin”] to the motorcycle gang community in North Georgia. Griff
       posed as Smith’s long-time friend and a big time drug dealer from
       Florida who was looking to expand his drug trafficking business into
       North Georgia and Tennessee. The FBI’s investigation included using
       Smith and Griff to record conversations with targets concerning their
       criminal activities; Griff purchasing and attempting to purchase illegal
       drugs, including methamphetamine, marijuana and LSD; and Griff
       paying members and persons associated with the OMC and its
       affiliates to provide protection for both real and sham drug deals.

(Id. at 2-3).

       On September 14, 2012, Defendants Coley and Alexander filed the pending

motions to dismiss (Doc. 70, 73); Defendant Davey Honeycutt filed his motion on

September 19, 2012 (Doc. 88), and Defendant Phillip Honeycutt adopted that

motion September 21, 2012 (Doc. 103). The Government filed a consolidated

response to those motions on October 8, 2012 (Doc. 116); Defendant Coley filed a

reply on October 10, 2012 (Doc. 117), and Defendants Davey Honeycutt and

Alexander filed replies on October 16, 2012 (Docs. 119, 120). Briefing is now

complete, and the Court turns to the merits of Defendants’ motions.


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                                       Discussion

      Defendants argue that “[w]hen involvement by federal agents in the

commission of a crime is so outrageous as to shock the conscience, either due

process or the Court’s supervisory powers will preclude prosecution.” (See Doc.

70 at 4; Doc. 73 at 4; Doc. 88 at 4; Doc. 103 at 4).2 They seek dismissal of the

indictment by invoking a defense that has been recognized, but apparently never

applied within this Circuit. In United States v. Haimowitz, 725 F.2d 1561 (11th

Cir. 1984), the court wrote, “In United States v. Russell, 411 U.S. 423 [] (1973),

the Supreme Court recognized outrageous governmental conduct as a legal

defense.” 725 F.2d 1561, 1577 (11th Cir. 1984). In Russell, the Court explained,

“While we may some day be presented with a situation in which the conduct of law

enforcement agents is so outrageous that due process principles would absolutely

bar the government from invoking judicial processes to obtain a conviction, the


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  Defendants also contend that Defendants could not have been in a conspiracy
with a government agent, citing United States v. Arbane, 446 F.3d 1223 (11th Cir.
2006), and refer to that as an “insurmountable defect,” presumably in the
indictment. (See Doc. 70 at 3; Doc. 73 at 3; Doc. 88 at 3-4; Doc. 103 at 3-4). That
argument is not developed, and does not appear to be Defendants’ basis for seeking
dismissal of the indictment in these motions. Furthermore, the court in Arbane
stated “[i]f there are only two members of a conspiracy, neither may be a
government agent or informant who aims to frustrate the conspiracy.” 446 F.3d at
1228 (emphasis added). But in this case, there are more than two charged
members of the conspiracy, and as the Government points out (see Doc. 116, Gov’t
Resp. at 7 n. 4), Count One charges that Defendants conspired with each other to
aid and abet a government agent; it does not charge Defendants solely with
conspiring with a government agent. Therefore, Arbane is inapplicable.
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instant case is distinctly not of that breed.” United States v. Russell, 411 U.S. 423,

431-32 (1973)(emphasis added). The Court found that the government agent’s

conduct in that case, supplying the defendant with materials to make

methamphetamine, “stop[ped] short of violating that fundamental fairness,

shocking to the universal sense of justice, mandated by the Due Process Clause of

the Fifth Amendment.” Id. at 432 (quotation omitted). Therefore, while the

Supreme Court in Russell left open the possibility that an outrageous governmental

conduct defense might be recognized some day, it did not apply such a defense in

that case.

      Within this Circuit more recently, in United States v. Jayyousi, 657 F.3d

1085 (11th Cir. 2011), the court explained that the Eleventh Circuit had “never

applied the outrageous government conduct defense and ha[d] discussed it only in

dicta,” and pointed out that several other circuits “have either rejected this defense

completely” or “have been sharply critical of the defense,” thus casting doubt on

its continued viability. Id. at 1111; see also United States v. Galvis-Pena, No.

1:09-CR-25-TCB-CCH-4, 2011 U.S. Dist. LEXIS 153045, at *32-33 (N.D. Ga.

Dec. 6, 2011) (“Indeed, the Eleventh Circuit has never found that a case should

have been dismissed on the ground of outrageous governmental conduct.” (citing

Donald F. Samuel, Eleventh Circuit Criminal Handbook § 87 at 4-7 (2011 Ed.)




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(claim may at least still be “theoretically possible”)), adopted by 2012 U.S. Dist.

LEXIS 16239 (N.D. Ga. Feb. 9, 2012).

      “To succeed under this defense, the defendant must show that the challenged

governmental conduct violated that fundamental fairness, shocking to the universal

sense of justice, mandated by the due process clause of the fifth amendment.”

Haimowitz, 725 F.2d at 1577 (quotation omitted)). “Whether outrageous

governmental conduct exists turns upon the totality of the circumstances with no

single factor controlling[,] and the defense can only be invoked in the rarest and

most outrageous circumstances.” Id. (quotations omitted).       “Although federal

courts possess the authority to dismiss an indictment for governmental misconduct,

dismissal is an extreme sanction which should be infrequently utilized[, and

d]ismissal is only favored in the most egregious cases.” United States v. Michael,

17 F.3d 1383, 1386 (11th Cir. 1994) (quotations omitted).

      Defendants contend that sufficient outrageousness to warrant dismissal of

the indictment can be shown where “the Government instigates the criminal

activity, provides the entire means for its execution, and runs the operation with

only meager assistance from the defendant,” which, they argue “perfectly describes

[Defendants’] alleged involvement in this case.” (See Doc. 70 at 5; Doc. 73 at 4;

Doc. 88 at 4-5; Doc. 103 at 4-5). Defendants allege that they were recruited by an

FBI informant, Brad Smith, to assist Michael Griffin, an undercover FBI agent, to


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provide security for transactions involving no actual sale or purchase of cocaine.

(See Doc. 70 at 2; Doc. 73 at 2; Doc. 88 at 2; Doc. 103 at 2). They deny that they

were “looking for an opportunity or otherwise predisposed to commit any crime,”

and contend that the Government was so involved in the underlying events “that

there would be no criminally actionable conduct but for the acts of the Government

agents.” (Doc. 70 at 3; Doc. 73 at 3-4; Doc. 88 at 4; Doc. 103 at 4).

      The Government counters that it “merely provided the Defendants with a

routine criminal opportunity of which the Defendants were more than willing to

take advantage,” and argues that “based on the totality of the circumstances, the

Government’s law enforcement techniques . . . do not approach that demonstrable

level of outrageousness that would be necessary to warrant dismissal of [the

Indictment].” (Doc. 18, Gov’t Resp. at 20). Specifically, the Government proffers

the following as to each Defendant’s involvement in the crimes charged in the

Indictment:

      With respect to Defendants Davey Honeycutt and Phillip Honeycutt, the

Government asserts that Defendant Musser approached Griffin about doing some

work involving narcotics trafficking, and Griffin asked Musser to put together a

group of people to assist them. (Doc. 116, Gov’t Resp. at 18). According to the

Government, “Defendant Musser told Griff that he would ask a few people,

including [among others] Defendants Davey Honeycutt and Phillip Honeycutt, if


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they wanted to help out.” (Id.). Thus, the Government asserts, “the Government

did not even select Defendants Davey Honeycutt and Phillip Honeycutt to

participate in the initial March 1, 2012 transactions (Counts 1-2) or select

Defendant Phillip Honeycutt to participate in the July 11, 2012 transaction (Count

3) – Defendant Musser did.” (Id.).

      With respect to Defendant Coley’s alleged involvement in the March 1,

2012 transaction underpinning Counts One and Two, the Government asserts that

Griffin and Coley had “exchanged text messages about whether Defendant Coley

had any marijuana and/or LSD to sell.” (Id.). Griffin “texted Coley to ask him if

he was interested in participating in a job,” to which Coley responded, “Yes!!

What time?” (Id.). Furthermore, according to the Government, when Griffin

“later presented an identical protection opportunity to Defendant Coley for the July

11, 2012 transaction (Count 4), Coley willingly accepted.” (Id. at 19). The

Government contends that Coley had already “established he was a predisposed

active participant in drug trafficking activities, and was looking to make some

money from future drug trafficking activities,” as evidenced by Coley’s actions in

the six months prior to the March 1, 2012 transaction, including providing

protection for Griffin at a drug negotiation for money; offering to introduce Griffin

to marijuana dealers or broker marijuana transactions; advising Griffin about

sources of marijuana and LSD, for which he was paid money; and arranging and


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participating in a meeting between Griffin and a supplier of marijuana and LSD,

for which he was paid money. (Id. at 18-19).

      With respect to Defendant Alexander’s participation in the July 11, 2012

transaction set out in Count Four, the Government asserts that Griffin “texted him

to ask if he was interested in participating in a job,” and Alexander responded that

he was, and by that point, Alexander had “already established that he was a

predisposed active participant in drug trafficking by providing protection for Griff

at four separate negotiations and/or purchases of methamphetamine from

Gainesville area drug dealers from June 2011 to September 2011.” (Id. at 19-20).

      Finally, with respect to Count Five of the Indictment, the Government

asserts that Defendant Davey Honeycutt “approached Smith in late December 2011

and asked if he thought Griff would be interested in buying [his friend Campbell’s]

guns because Campbell needed money.” (Id. at 20). Griffin called Honeycutt, and

they agreed on a sale price for certain guns and ammunition. (Id. at 21). Campbell

brought the guns to the agreed upon location and gave them to Defendant Davey

Honeycutt; Griffin texted Honeycutt and told him to put the guns in the trunk of a

car, which he did. (Id.).

      The undersigned finds the challenged governmental conduct does not rise to

the level of offending notions of fundamental fairness and is not shocking to the

universal sense of justice, and therefore it does not violate Defendant’s Fifth


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Amendment due process rights. “[G]overnment infiltration of criminal activity is a

recognized and permissible means of investigation, even though the government

agent supplies something of value to the criminal.” United States v. Tobias, 662

F.2d 381, 386 (5th Cir. 1981)3 (internal quotations omitted).         In particular,

“[w]here the government is investigating offenses involving illegal drugs, it often

must engage in undercover operations because it is very difficult to discover the

contraband.   This activity by the government does not generally constitute

outrageous conduct.” United States v. Lopez-Cruz, 170 Fed. Appx. 634, 636 (11th

Cir. 2006) (unpublished decision); see also United States v. Sanchez, 138 F.3d

1410, 1413 (11th Cir. 1998) (“The fact that government agents may supply or sell

illegal drugs or provide other essential services does not necessarily constitute

misconduct.”). Furthermore, “[w]here the government merely presents a defendant

with a routine criminal opportunity of which the defendant is more than willing to

take advantage, the government’s actions do not amount to outrageous conduct

warranting dismissal.” United States v. Rolon, 445 Fed. Appx. 314, 322 (11th Cir.

2011) (unpublished decision).

      A closer look at one leading case illustrates how remarkably difficult it is to

show that government misconduct is outrageous enough to justify dismissal. In


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 Decisions of the Fifth Circuit handed down before Oct. 1, 1981 are binding
precedent in the Eleventh Circuit. Bonner v. City of Prichard, 661 F.2d 1206,
1209 (11th Cir. 1981)(en banc).
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Tobias, Drug Enforcement Administration (“DEA”) agents established a chemical

supply company; agents placed an advertisement in High Times Magazine offering

to sell chemicals and laboratory equipment to manufacture drugs; agents

recommended to the defendant that he make Phencyclidene (PCP) because it was

easier to make than cocaine; agents gave the defendant the formula and some of

the chemicals necessary to make the drug; and agents provided ongoing advice on

how to make PCP.         Tobias, 662 F.2d at 383-84.    The court found that the

government conduct in that case “set[s] the outer limits to which the government

may go in the quest to ferret out and prosecute crimes in this circuit,” yet because

the defendant “was a predisposed active participant, motivated solely by a desire to

make money,” the court found that the conduct was not so outrageous to constitute

a due process violation. Id. at 387.

          In this case, Defendants have not demonstrated that Government agents

coerced, pressured, or misled Defendants to engage in criminal activity in which

they were not otherwise predisposed to engage, nor have they otherwise shown that

the governmental conduct was so outrageous that it violated their due process

rights.     As described above, the Government has proffered that, prior to the

transactions at issue in the Indictment, Defendants were allegedly involved in

activities showing that they were willing to engage in drug-related transactions,




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including arranging and/or securing transactions, and that they agreed to participate

in the transactions alleged in the Indictment.

      Furthermore, Defendants have not shown that they are entitled to a hearing

on their motions.      “[W]ithout sufficient factual allegations to support an

outrageous-governmental-conduct defense, the Court need not hold an evidentiary

hearing on the issue.” Galvis-Pena, 2012 U.S. Dist. LEXIS 16239, at *16 (citing

United States v. Holloway, 778 F.2d 653, 658 (11th Cir. 1985).            Moreover,

Defendants’ contentions about the agents’ conduct in this case “raise questions that

are intermeshed with questions going to the merits of the case because they would

require proof of the criminal conduct alleged in the indictment,” and therefore,

“they are not capable of resolution without a ‘trial of the general issue’ under FED.

R. CRIM. P. 12(b)(2).” Id.4 Thus, a pretrial evidentiary hearing on Defendants’

motions would be inappropriate. See, e.g. id. at *15-16 (finding that magistrate

judge properly denied the defendant’s request for an evidentiary hearing on his

motion to dismiss for outrageous governmental conduct because he had not made a

sufficient showing of outrageousness to warrant a hearing, and a hearing would


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  Rule 12(b)(2) provides that “[a] party may raise by pretrial motion any defense,
objection, or request that the court can determine without a trial of the general
issue.” FED. R. CRIM. P. 12(b)(2) (emphasis added). As the court pointed out in
Galvis-Pena, because “the issue of outrageous governmental conduct remains a
question of law for the Court to decide,” Defendants “will be permitted to move for
dismissal at trial should the evidence establish this defense.” 2012 U.S. Dist.
LEXIS 16239, at *17 n. 6 (emphasis added).
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require a “trial of the general issue,” i.e., proof of the underlying criminal conduct

alleged in the indictment).

      Accordingly, it is RECOMMENDED that Defendants’ motions to dismiss

the Indictment (Docs. 70, 73, 88, 103) be DENIED without a hearing.

      IT IS SO REPORTED AND RECOMMENDED this                            3rd   day of

December, 2012.




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